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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

 REEF MOUNTAIN LLC,                                          CASE NO: 18-11536 (        )

         Plaintiff
                                                             PATENT CASE
            vs.

 SAVANT SYSTEMS, LLC,

         Defendant

                                           COMPLAINT

TO THE HONORABLE CORUT:

       COMES NOW Plaintiff Reef Mountain LLC (“Plaintiff” or “Reef Mountain”) files this

Complaint against Savant Systems, LLC (“Defendant” or “Savant”) for infringement of United

States Patent No. 8,239,481 (hereinafter “the ‘481 Patent”).

                                 PARTIES AND JURISDICTION

       1.         This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.         Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising under

the United States patent statutes.

       3.         Plaintiff is a Texas limited liability company with its office address at 5570 FM

423, Suite 250-125, Frisco, TX 75034.

       4.         On information and belief, Defendant is a Massachusetts limited liability company

with a principal address of 45 Perseverance Way, Hyannis, MA 02601 and may be served through

its registered agent, Bruce Myers at the same address of 45 Perseverance Way, Hyannis, MA

02601CT.



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        5.          On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in this District,

has conducted business in this District, and/or has engaged in continuous and systematic activities

in this District.

        6.          On information and belief, Defendant’s instrumentalities that are alleged herein to

infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                                VENUE

        7.          Venue is proper in this District pursuant to 28 U.S.C. § 1400(b) because acts of

infringement are occurring in this District and Defendant has a regular and established place of

business in this District. For instance, on information and belief, Defendant has a regular and

established place of business located at 45 Perseverance Way, Hyannis, MA 02601. On

information and belief, Defendant has other regular and established places of business in this

District.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 8,239,481)

        8.          Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.          This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.         Plaintiff is the owner by assignment of the ‘481 Patent with sole rights to enforce

the ‘011 Patent and sue infringers.

        11.         A copy of the ‘481 Patent, titled “System and method for implementing open-

control remote device control,” is attached hereto as Exhibit A.

        12.         The ‘481 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.



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       13.     On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claims 1, 3, 9, 12, 13, 15, 17, 26, 30, 31, 32, 35, 37, 40, 44, 45,

and 46 of the ‘481 Patent by making, using, importing, selling, and/or offering devices and

methods for controlling devices in a computer system, which are covered by at least Claims 1, 3,

9, 12, 13, 15, 17, 26, 30, 31, 32, 35, 37, 40, 44, 45, and 46 of the ‘481 Patent. Defendant has

infringed and continues to infringe the ‘481 Patent directly in violation of 35 U.S.C. § 271.

       14.     Defendant sells, offers to sell, and/or uses (including by at least testing) appliance

control devices and/or systems including, without limitation, the Savant Pro 8 App, and any similar

products (“Product”), which infringe at least Claims 1, 3, 9, 12, 13, 15, 17, 26, 30, 31, 32, 35, 37,

40, 44, 45, and 46 of the ‘481 Patent. The Product enables a user to control various appliances

that utilize different device-specific protocol instruction through an interface by encoding selected

appliance operations according to a standard communication protocol instruction.

       15.     In at least testing and usage, the Product implements a communication method for

controlling devices in a computer system. The Product obtains a user selection (e.g., selection of

smart appliances which a user wants to control. For example, the user can select lights, thermostat,

etc.) of one or more of a plurality of networked devices (e.g., smart appliance such as lights,

thermostat, etc.) to be manipulated from a user interface (e.g., Savant Pro 8 app interface), wherein

at least one of the plurality of networked devices requires device-specific protocol instructions that

are different from protocol instructions required by at least one of the other plurality of networked

devices. The Savant app can control, by means of a smartphone, multiple types of devices (e.g.,

smart appliances like lights, door locks, thermostats, etc.) which have different functionalities, and

therefore, on information and belief must have different software operating instructions that

correspond to their differentiated functions (e.g., different device-specific protocol instructions).




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Certain aspects of these elements and limitations are illustrated in the screen shots below and/or in

screen shots provided in connection with other allegations herein.




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        16.     In at least testing and usage, the Product obtains a user interface application (e.g.,

Savant Pro 8 smartphone app) corresponding to the selected one or more networked devices (e.g.,

smart appliance such as lights, thermostat, etc.). Certain aspects of these elements are illustrated

in the screen shots provided in connection with other allegations herein.

        17.     In at least testing and usage, the Product transmits, to at least one user interface

selection device, the user interface application (e.g., smartphone with the Savant App installed)

corresponding to the selected one or more networked devices (e.g., the Savant application will

display a user interface that can be used to control corresponding smart appliances) so that the user

interface (e.g., Savant’s smartphone app) can be displayed on the at least one user interface

selection device (e.g., a smartphone with the Savant application installed). Certain aspects of these

elements are illustrated in the screen shots provided in connection with other allegations herein.

        18.     In at least testing and usage, the Product obtains a user selection of an operation

(e.g., a user can control and/or set a particular device using the Savant App) corresponding to at

least one selected networked device (e.g., smart appliances). Certain aspects of these elements are

illustrated in the screen shots provided in connection with other allegations herein.

        19.     On information and belief, in at least testing and usage, the Product encodes the

selected operation (e.g., a user’s selection of a particular setting or control pertaining to a particular

device) according to a standard communication protocol instruction (e.g., a standard protocol

utilized by the Savant system to encode all user instructions to a format appropriate for transmittal

to the Savant server and/or host over the Internet). Because the Savant system utilizes a single

application interface to control a multitude of devices, it is inherent that the application utilizes a

common communication protocol to encode all user instructions originating from the Savant App.

The fact that a Savant server and/or host device parses all of the said instructions or settings further




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supports the conclusion that a single communication protocol is utilized by the Savant App to

transmit settings and/or settings. This standard communication protocol could be any Internet

Protocol or proprietary Savant protocol appropriate for the transmittal of controls/settings from the

Mobile Application to the Savant server/host via the Internet. Certain aspects of these elements are

illustrated in the screen shot below and/or in screen shots provided in connection with other

allegations herein.




       20. The Product transmits the selected standard protocol instruction (e.g., user input

settings or controls that have been encoded utilizing a standard communication protocol) to a

server (e.g., Savant server and/or host device) corresponding to the selected networked device

(e.g., smart appliances connected to Savant server and/or host). Certain aspects of these elements

are illustrated in the screen shot below and/or in screen shots provided in connection with other

allegations herein.




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       21.     On information and belief, the Product obtains an output (e.g., the actual carrying

out of controls or settings by a particular device; for example, the retrieval of status data from a

device such as the current temperature settings of a thermostat, the operation of a device such as

turning on/off a light, or the locking/unlocking of a lock) corresponding to the selected operation

(e.g., the user input control and/or setting) of the selected networked device (e.g., smart appliances

or other connected device). On information and belief, the Savant server and/or host will receive

commands and or settings originating from a mobile device, those commands or settings having

been encoded utilizing a standard communication protocol that is appropriate for data transmission

over a network (e.g., the Internet). The Savant server and/or host will then parse said data to

determine the appropriate commands/instructions to send to a particular device so that the desired

setting/control can be carried out (e.g., the appropriate Savant proprietary protocol command).

Certain aspects of these elements are illustrated in the screen shots provided in connection with

other allegations herein.

       22.     Regarding Claim 3, the Product contains a selection option wherein the selected

networked device is a monitoring device (e.g., a smart appliance such as a thermostat that monitors


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temperature). Certain aspects of these elements are illustrated in the screen shots provided in

connection with other allegations herein.

       23.     Regarding Claim 9, the output includes data indicative of the network device status

(e.g., device settings or status such as the current temperature settings of a thermostat).

       24.     Regarding Claim 12, the standard communication protocol is device independent

(e.g., the communication protocol utilized for data transmission to the Savant server and/or host is

independent of any protocols used for direct communication with actual devices and is universally

used to transmit controls and settings across all of the different devices).

       25.     Regarding Claim 13, the user interface is a web-based graphical user interface (e.g.,

a smartphone app interface which controls through a network such as the Internet).

       26.     Regarding Claim 15, obtaining a user selection of an operation (e.g., settings of the

device being controlled) corresponding to at least one selected networked device (e.g., smart

appliances, lights, thermostat, etc.) includes obtaining a user manipulation of a graphical icon.

       27.     Regarding Claim 17, the Product includes a computer-readable medium having a

computer executable program therein for performing the method of controlling devices in a

computer system. The method steps are as described in connection with Claim 1 and as illustrated

in the screen shots provided in connection with other allegations herein.

       28.     Regarding Claim 26, the output includes data indicative of a networked device

status. This is described in connection with Claim 9 and as illustrated in the screen shots provided

in connection with other allegations herein.

       29.     Regarding Claim 30, the standard communication protocol is device independent.

This is described in connection with Claim 12 and as illustrated in the screen shots provided in

connection with other allegations herein.




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       30.     Regarding Claim 31, the user interface is a Web-based graphical user interface.

This is described in connection with Claim 13 and as illustrated in the screen shots provided in

connection with other allegations herein.

       31.     Regarding Claim 32, obtaining a user selection of an operation corresponding to at

least one selected networked device includes obtaining a user manipulation of a graphical icon.

This is described in connection with Claim 15 and as illustrated in the screen shots provided in

connection with other allegations herein.

       32.     Regarding Claim 35, the Product provides a method of controlling devices in a

computer system. The method steps are as described in connection with Claim 1 and as illustrated

in the screen shots provided in connection with other allegations herein.

       33.     Regarding Claim 37, the selected networked device is a monitoring device. This is

described in connection with Claim 3 and as illustrated in the screen shots provided in connection

with other allegations herein.

       34.     Regarding Claim 40, the output includes data indicative of a networked device

status. This is described in connection with Claim 9 and as illustrated in the screen shots provided

in connection with other allegations herein.

       35.     Regarding Claim 44, the standard communication protocol is device independent.

This is described in connection with Claim 12 and as illustrated in the screen shots provided in

connection with other allegations herein.

       36.     Regarding Claim 45, the user interface is a Web-based graphical user interface.

This is described in connection with Claim 13 and as illustrated in the screen shots provided in

connection with other allegations herein.

       37.     Regarding Claim 46, obtaining a user selection of an operation corresponding to at




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least one selected networked device includes obtaining a user manipulation of a graphical icon.

This is described in connection with Claim 15 and as illustrated in the screen shots provided in

connection with other allegations herein.

          38.   Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

          39.   Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined and

restrained by this Court.

          40.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                   PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)   Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice of

the order from further infringement of United States Patent No. 7,797,011 (or, in the alternative,

awarding Plaintiff a running royalty from the time of judgment going forward);

          (c)   Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

          (d)   Award Plaintiff pre-judgment and post-judgment interest and costs; and




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        (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under
law or equity.

 Dated: July 23, 2018                                                   Respectfully submitted.

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